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 9                         IN THE UNITED STATES DISTRICT COURT
10                     FOR THE NORTHERN DISTRICT OF CALIFORNIA
11                                SAN FRANCISCO DIVISION
12

13     UNITED STATES OF AMERICA,               Case No.: CR 22-0153 CRB
14                   Plaintiff,                DEFENDANT’S SENTENCING
                                               MEMORANDUM
15            v.
                                               Court:   Hon. Charles R. Breyer
16     JOSE ALVARADO,
                                               Date:    January 4, 2023
17                   Defendant.
                                               Time:    10:00 a.m.
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 1                                            ARGUMENT
 2          As recognized by the U.S. Probation Officer, the advisory sentencing guidelines in this
 3   case fail to acknowledge that Defendant Jose Alvarado is statutorily eligible for the Safety
 4   Valve under 18 U.S.C. § 3553(f) and its relief from an otherwise mandatory minimum sentence
 5   of five years imprisonment. The U.S. Probation Officer therefore recommends a downward
 6   variance under 18 U.S.C. § 3553(a) to a term of imprisonment of 60 months, the lowest
 7   sentence that would be available if the mandatory minimum sentence were still applicable.
 8   Such a sentence, however, fails to account for the other factors under § 3553(a) warranting a
 9   further variance below that vestigial floor to a term of imprisonment of 18 months, including
10   the abject poverty in which Mr. Alvarado was raised, the fact that his longest prior sentence
11   was just 104 days in custody, that in this case he demonstrated extraordinary acceptance of
12   responsibility by fully debriefing without any limitation,1 and that as an undocumented alien he
13   will be denied many privileges and benefits in BOP custody—including early release to a
14   halfway house—that are available for U.S. citizens.
15          Jose Alvarado was raised by his mother in a small town outside Tegucigalpa, Honduras.
16   PSR ¶¶ 43-44. There was no electricity or running water. PSR ¶ 44. Mr. Alvarado’s family
17   had to travel ten minutes on foot to obtain water access. Id. Mr. Alvarado’s parents were
18   never married or in a relationship. PSR ¶ 45. “His father had another family when Alvarado
19   was born, and he remained with his other family.” Id. As a source of income, Mr. Alvarado’s
20   mother sold tortillas daily and was able to provide only the bare necessities for her children.
21   PSR ¶ 46. Once Mr. Alvarado’s eldest siblings were old enough to work, they relocated to the
22   city to obtain employment and assisted their mother financially. Id.
23          At the age of 17, Mr. Alvarado himself relocated to the United States for its possible
24   financial opportunities. PSR ¶ 48. The journey from Honduras to the United States on the
25   “train of death” was extremely traumatic and lasted 25 days. Id. Mr. Alvarado witnessed
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      Cf. 18 U.S.C. § 3553(f)(5) (requiring the defendant to provide truthful information to the
28   government only “concerning the offense or offenses that were part of the same course of
     conduct or of a common plan or scheme”).

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 1   someone getting stabbed and another individual fell off the train because he was intoxicated.
 2   Id. In the United States, Mr. Alvarado initially found employment at a pizza restaurant. PSR ¶
 3   58. Unfortunately, Mr. Alvarado was exposed to illegal narcotics and soon he was using and
 4   selling to support his habit. PSR ¶ 55. Between 2017 and 2019, Mr. Alvarado suffered three
 5   drug-related convictions. PSR ¶¶ 29-31. His longest sentence was 104 days custody at half
 6   time. See PSR ¶ 31. Following his arrest in the instant case, Mr. Alvarado promptly
 7   demonstrated his extraordinary acceptance of responsibility by fully debriefing for the
 8   government beyond the minimum requirements of the Safety Valve. See PSR ¶ 86. He also
 9   entered a plea agreement with the government waiving inter alia the right to appeal his
10   sentence except in very limited circumstances. See PSR ¶ 3.
11          The parties and the U.S. Probation Officer agree that the Court is not bound by any
12   mandatory minimum sentence in this case because Mr. Alvarado is eligible for the Safety
13   Valve. Nevertheless, the U.S. Probation Officer recommends a sentence of 60 months
14   imprisonment, consistent with a mandatory minimum sentence that is inapplicable. Instead, the
15   Court should sentence Mr. Alvarado to a term of imprisonment of 18 months, recognizing the
16   abject poverty in which he was raised, the fact that his longest prior sentence was just 104 days
17   in custody at half time, that in this case he demonstrated extraordinary acceptance of
18   responsibility by fully debriefing without any limitation, and that as an undocumented alien he
19   will be denied many privileges and benefits in BOP custody—including early release to a
20   halfway house—that are available for U.S. citizens.2
21          For whatever additional time Mr. Alvarado has in custody, he will take advantage of all
22   available drug treatment programming, so that he can remain clean and sober following his
23   release. Upon his release, whether officially deported or not, Mr. Alvarado plans to return to
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       The Court should not give substantial weight to the JSIN sentencing data in this case because
27   it includes those defendants who have a mandatory minimum sentence correlating to the
     offense level here that does not apply to him and excludes those defendant who were granted a
28   motion under U.S.S.G. § 5K1.1 to get out from under that mandatory minimum. Cf. PSR ¶¶
     80-83.

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 2   Honduras to care for his mother and complete his studies in the hopes of building a better life
 3   for himself.
 4                                           CONCLUSION
 5          For the aforementioned reasons, the Court should sentence Mr. Alvarado to a term of
 6   imprisonment of 18 months.
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 8                                                       Respectfully submitted,

 9            Dated: December 28, 2022                   JODI LINKER
                                                         Federal Public Defender
10                                                       Northern District of California
11                                                                 /S
                                                         DANIEL P. BLANK
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                                                         Assistant Federal Public Defender
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